        Case 1:07-cr-00192-AWI Document 352 Filed 04/06/11 Page 1 of 1


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KATHLEEN A. SERVATIUS
     Assistant U.S. Attorneys
 3   4401 Federal Building
     2500 Tulare Street
 4   Fresno, California 93721
     Telephone: (559) 498-7272
 5
 6
 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                       )   1:07-CR-192 AWI
11                                                   )
                            Plaintiff,               )   ORDER SEALING DECLARATION IN
12                                                   )   SUPPORT OF GOVERNMENT’S MOTION
                                                     )   TO CONTINUE SENTENCING
13                                   v.              )
                                                     )   DATE: April 4, 2011
14   JOHN WAYNE WYATT,                               )   HONORABLE Anthony W. Ishii
                                                     )
15                          Defendants.              )
                                                     )
16                                                   )
17
18          The United States of America, by and through BENJAMIN B. WAGNER, United States
19   Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorney, having requested
20   permission to file its declaration in support of its Request to Continuance Sentencing under seal until
21   further order of the Court and good cause appearing,
22          IT IS ORDERED that the Declaration in Support of the Government’s Request to Continue
23   Sentencing shall be filed under seal until further order of the Court.
24   IT IS SO ORDERED.
25
     Dated:    April 5, 2011
26   0m8i78                                               CHIEF UNITED STATES DISTRICT JUDGE
27
28


                                                         1
